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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 BAY AREA UNITARIAN                           )
 UNIVERSALIST CHURCH, DRINK                   )
 HOUSTON BETTER, LLC d/b/a                    )
 ANTIDOTE COFFEE, PERK YOU                    )
 LATER, LLC,                                  )
             Plaintiffs,                      )
                                              )
 v.                                           )            CIVIL ACTION NO. 4:20-CV-03081
                                              )
 KIM OGG, District Attorney for Harris        )
 County, in her Official Capacity, ED         )
 GONZALEZ, County Sheriff for Harris          )
 County, in his official capacity; PETE       )
 BACON, Acting Chief of Police for the        )
 Webster Police Department, in his official   )
 capacity; TROY FINNER, Chief of the          )
 Houston Police Department, in his official   )
 capacity,                                    )
                   Defendants.                )

                DEFENDANTS’ DESIGNATION OF EXPERT WITNESSES

       Defendants, Kim Ogg, District Attorney for Harris County, in her Official Capacity and

Ed Gonzales, County Sheriff for Harris County, in his official capacity file this Designation of

Expert Witnesses as follows:


(1)    Mike Lee- Assistant Chief
       Harris County Sheriff’s Office
       1200 Baker Street
       Houston, Texas 77002
       (346) 286-1603


       Assistant Chief Lee joined the Harris County Sheriff’s Office in 2017 after 27 years of
       service at the Houston Police Department. His current assignments include commanding
       five patrol districts, the Patrol Support Services Bureau, the Criminal Investigations

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       Bureau, the Homeland Security Bureau, the Administrative Services Bureau, and the
       Professional Standards Bureau. Chief Lee may offer expert testimony concerning policing,
       arrests, penal code violations, and law enforcement policies and practices within Harris
       County, Texas.


(2)    Michelle Wilhelm- Assistant District Attorney
       Harris County District Attorney’s Office- Intake Division
       1201 Franklin, Suite 600
       Houston, Texas 77002
       (713) 274-5800


       Michelle Wilhelm began her career at the Harris County Attorney’s Office as in Intern in
       the Special Crimes Division- Consumer Fraud in 1988. In 1991 she became an Assistant
       District Attorney where she has since worked in Trial Bureau, Child Abuse Division and
       currently the Intake Division. Ms. Wilhelm may offer expert testimony related to
       prosecution of crimes and policies and procedures related to intake of criminal cases in
       Harris County, Texas.


(3)    Courtney Carlson- Assistant County Attorney
       Harris County Attorney’s Office
       1019 Congress, 15th Floor
       Houston, Texas 77002
       (713) 755-5101


       Courtney Carlson has been employed with Harris County Attorney’s Office since 2021.
       Ms. Carlson has more than 10 years of experience in appellate and civil litigation and
       previously clerked with the Texas Supreme Court. She may offer expert testimony on the
       attorney’s fees, including the reasonableness of hourly rates and work performed and costs
       expended in this case.




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                                      Respectfully submitted,

                                      CHRISTIAN D. MENEFEE
                                      HARRIS COUNTY ATTORNEY

                                      JONATHAN G.C. FOMBONNE
                                      FIRST ASSISTANT HARRIS COUNTY ATTORNEY

                                      /s/ Heena Kepadia
                                      HEENA KEPADIA
                                      Assistant Harris County Attorney
                                      State Bar No. 24110080
                                      SDTX No. 3766188
                                      Heena.Kepadia@harriscountytx.gov


                                      OFFICE OF THE HARRIS COUNTY
                                      ATTORNEY
                                      1019 Congress Plaza, 15th Floor
                                      Houston, Texas 77002
                                      Telephone: (713) 274-5101
                                      Facsimile: (713) 755-8924

                                      ATTORNEY FOR DEFENDANTS KIM
                                      OGG AND ED GONZALEZ




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                                  CERTIFICATE OF SERVICE
        I certify that on the 1st day of August, 2022, a true and correct copy of the foregoing
document was delivered to all counsel of record via the Court’s CM/ECF system and served by
electronic notice to all parties of record.


                                                   _/s/ Heena Kepadia__________________
                                                   Heena Kepadia




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